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                                                   Wednesday, 24 January, 2018 12:56:20 PM
                                                              Clerk, U.S. District Court, ILCD

           IN THE UNITED STATES DISTRICT COURT
               CENTRAL DISTRICT OF ILLINOIS
                   SPRINGFIELD DIVISION

SAJIDA AHAD, MD, on behalf of)
herself and all others similarly
                             )
situated,                    )
                             )
     Plaintiff,              )
                             )
     v.                      )                   No. 15-cv-3308
                             )
BOARD OF TRUSTEES OF         )
SOUTHERN ILLINOIS UNIVERSITY )
and SIU PHYSICIANS &         )
SURGEONS, INC.,              )
                             )
     Defendants.             )

                              OPINION

SUE E. MYERSCOUGH, U.S. District Judge.

     The cause before the Court is Plaintiff’s Motion to Bar

Defendants’ Reliance on Undisclosed Information and Their Expert

Report Based Thereon in Opposing Class Certification (d/e 48),

pursuant to Federal Rule of Civil Procedure 37(c). Defendants

oppose the Motion and request that the Court order Plaintiff to pay

Defendants’ attorney’s fees and expenses incurred in responding to

the Motion. See Defs. Resp. (d/e 52).




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     For the reasons stated herein, Plaintiff’s Motion is DENIED.

Defendants’ request for fees and expenses is also DENIED.

                          I.      BACKGROUND

     Plaintiff Sajida Ahad, M.D. alleges gender-based pay

discrimination on her behalf and a class of female physicians

employed by Defendants. Plaintiff alleges that Defendants paid

Plaintiff and other female physicians substantially lower

compensation than male physicians for the same or similar work.

See Am. Compl., (d/e 31). Defendants deny these allegations. See

Answer to Am. Compl. (d/e 39). Magistrate Judge Schanzle-

Haskins bifurcated discovery in this case between matters relating

to the merits and matters relating to class certification. See Order

Regarding Scheduling (d/e 25). Under the scheduling order, the

parties were to complete class certification fact discovery by

September 12, 2016. Id.

     The parties exchanged Rule 26 initial disclosures in April

2016. See Defs. Resp., Ex. A (d/e 52-1). Plaintiff served her initial

interrogatories and requests for production on Defendants in July

2016. See Defs. Resp., Exs. B and C (d/e 52-2, 52-3). The

Defendants responded to those requests on August 3, 2016. Id.


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Particularly relevant to this motion is Plaintiff’s Document Request

18 and Defendants’ response. Plaintiff’s Document Request 18,

reads:

     Provide a computer-readable database (or databases) listing all
     physician faculty members who were affiliated with
     [Defendants] or who sought employment, promotion, or higher
     compensation from Defendants at any time from January 1,
     2006 until the present date. Please include all of the following
     information for each such person:
     a. Full name;
     b. Social security number or other unique identifier;
     c. Gender;
     d. Current or most recent office location, business address
          and telephone number at Defendants;
     e. Current or last known home address, telephone number
          and e-mail address;
     f. Tenure;
     g. Name of each position held as an employee of Defendants;
     h. Current or most recent position, title or office with
          Defendants;
     i. Years of education and experience;
     j. Start and end dates for each such position;
     k. Termination dates;
     l. Reasons for termination;
     m. Performance evaluation ratings; and
     n. Compensation information, including:
          i. Annual compensation;
         ii. Each element of annual compensation (yearly base
             salary, clinical compensation, bonus, etc.);
        iii. The formula for computation of each employee’s bonus
             and salary;
        iv. Stating salary and salary for each successive position
             and/or year of employment.




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See Defs. Resp., Ex. C at 16 (d/e 52-3). Defendants answered the

response stating:

     Defendants are producing Excel spreadsheets prepared in
     response to this request. Defendants payroll database does
     not include items I or M and to include such information
     would require the hand search of every current and former
     physician faculty member’s personnel file, which request is
     unduly burdensome. . . . To the extent that Plaintiff has
     additional questions regarding individual physician faculty
     members identified on the spreadsheet, Defendants will review
     those requests on a case-by-case basis.

See Id. at 16-17. Defendants’ production in response included

several spreadsheets of compensation information. Notably, the

physicians’ total compensation is the result of two payments: an

academic base salary paid by Southern Illinois University School of

Medicine (“SIU-SOM”) and a clinical compensation paid by

Southern Illinois University Healthcare (“SIU-HC”). See Defs. Resp.

at 3 (d/e 52). Defendants produced spreadsheets tracking

academic base salary by fiscal year and clinical compensation by

calendar year and advised Plaintiff of the different tracking. Id.

Defendants also produced faculty salary surveys from the

Association of American Medical Colleges, organizational charts for

SIU-HC and SIU-SOM, and lists of supervisors, department chairs,

and faculty members. Id.


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     In November and December of 2016, Defendants also

produced SIU-HC compensation files for individual physician

faculty members at the request of Plaintiff. Id. at 5. On January 9,

2017, Plaintiff’s counsel contacted Defendants’ counsel to resolve

discrepancies between compensation files and compensation

spreadsheets. Id. On February 2, 2017, Plaintiff’s counsel again

contacted Defendants’ counsel requesting supplementation of prior

discovery responses, including, in relevant part, the division and

dates and National Institute of Health (“NIH”) Grants by year for all

physician-members of SIU Healthcare. See Pls. Mot., Ex. A (d/e 48-

1). Notably, Defendants’ employees are divided into seven

departments, which are then divided into a total of 42 divisions.

See Defs. Resp. at 19 (d/e 52). Defendants responded to Plaintiff’s

request on February 9, 2017, stating that certain of Plaintiff’s

requests, including information on NIH Grants by year are not

responsive to Plaintiff’s document requests or interrogatories; that

division information and other requested information is located in

the SIU-HC compensation files; and that Defendants do not

maintain a “database” that contains the information requested. Pls.




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Mot., Ex. B (d/e 48-2). In Plaintiff’s Motion, she did not reference

any other requests she made for supplemental information.

     Plaintiff’s expert, Dr. Sharp, submitted his expert report on

March 10, 2017. He analyzed the compensation components

separately (academic base pay and clinical compensation) because

the spreadsheets Defendants produced used different fiscal years to

track the pay, as described above. See Plaintiff’s Memorandum in

Support of Motion (“Pls. Memo.”) at 6-7 (d/e 49). He also analyzed

pay by department and not division, because the data spreadsheets

Defendants produced did not contain information on divisions. Id.

Dr. Sharp was deposed on April 7, 2017. Id. at 6.

     Defendants’ expert, Dr. Song, filed her expert report on May 8,

2017. Plaintiff’s Motion contends that this report relied on

information that Defendants had not previously produced,

including: (1) information on compensation determined by calendar

year, not fiscal year; (2) information about physicians’ positions,

departments and divisions (including information regarding division

chiefs and faculty grants); (3) information from witnesses not

previously disclosed by Defendants; and (4) information about how




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the compensation was allegedly determined for specific physicians.

See Pls. Memo. at 6 (d/e 49).

     Plaintiff contacted Defendants on May 9, 2017, after receiving

the expert report, and asked Defendants whether the noted

information had been produced prior to May 8, 2017. See Pls. Mot.,

Ex. E (d/e. 48-5). Defendants responded that, “[a]ll of the

documents identified by Dr. Song in her report including those from

her own research or requests have been provided to you.” Id. at 7.

On May 15, 2017, Plaintiff again asked for further clarification on

whether the documents had been previously produced but did not

receive a response. Id. at 6. Plaintiff’s expert filed her rebuttal

report on July 14, 2017. See Pls. Mot., Ex. F (d/e 48-6). Plaintiff

then filed this Motion on August 10, 2017 seeking sanctions

pursuant to Federal Rule of Civil Procedure 37(c).

     In Defendants’ Response to Plaintiff’s Motion, Defendants

argue that all of the information was timely produced and therefore

Plaintiff cannot prove an underlying violation that would warrant

sanctions under Rule 37(c). See Defs. Resp. (d/e 52). Defendants

explain that data tracking total compensation by year was created

after Defendants’ counsel decided in December 2016 that having a


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dataset that tracks total compensation by calendar year would aid

in the analysis. See Defs. Resp., Ex. D: Wilson Decl. at 4 (d/e 52-

4). Dr. Song agreed and also requested that the dataset include

division title for all physician faculty members in the data set. Id.

Using information previously produced, as well as additional

information provided by Defendants, Defense counsel created a

dataset of this information that was completed on April 7, 2017. Id.

Defendants argue that this data was attorney work product until

their expert report was disclosed. Defs. Resp. at 18, 22-23 (d/e 52).

Defendants further argue that this and any other information was

not specifically requested and did not need to be produced until

their expert relied on it. Id. at 14. Additionally, Defendants argue

that the witnesses the expert spoke to were disclosed in their

interrogatory responses and therefore were known to Plaintiff. Id.

at 24-25.

                   II. JURISDICTION AND VENUE

     This Court has subject matter jurisdiction because Plaintiff’s

claims are based on federal law. See 28 U.S.C. § 1331 (“The district

courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States”). The


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Court has supplemental jurisdiction over Plaintiff’s state law claims

pursuant to 28 U.S.C. § 1367. Venue is proper because the events

giving rise to the claim occurred in Sangamon County, Illinois. See

28 U.S.C. § 1391(b)(2) (a civil action may be brought in a judicial

district where a substantial part of the events or omissions giving

rise to the claim occurred).

                       IV. LEGAL STANDARD

     Under Federal Rule of Civil Procedure 37(c), “[i]f a party fails to

provide information or identify a witness as required by Rule 26(a)

or (e), the party is not allowed to use that information or witness to

supply evidence on a motion, at a hearing, or at a trial, unless the

failure was substantially justified or is harmless.” Fed. R. Civ. P.

37(c). “[I]n addition to or instead of this sanction,” the Court is

given the option “on motion and after giving an opportunity to be

heard” to “order payment of the reasonable expenses, including

attorney’s fees caused by the failure,” “inform the jury of the party’s

failure,” and “impose other appropriate sanctions.” Id. “The

purpose of Rule 37(c) is to prevent the practice of ‘sandbagging’ an

opposing party with new evidence.” Marvel Worldwide, Inc. v.

Kirby, 777 F. Supp. 2d 720, 727 (S.D.N.Y. 2011) (internal citations


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omitted), aff'd in part, vacated in part sub nom. Marvel Characters,

Inc. v. Kirby, 726 F.3d 119 (2d Cir. 2013). The threshold question

in a Motion for Rule 37(c) sanctions, therefore, is whether a party

has failed to provide information or identify a witness as required by

Rule 26(a) or (e).

     Federal Rule of Civil Procedure 26(a)(1) requires initial

disclosures of: “the name and, if known, the address and telephone

number of each individual likely to have discoverable information—

along with the subjects of that information—that the disclosing

party may use to support its claims or defenses;” and “a copy—or a

description by category and location—of all documents,

electronically stored information, and tangible things that the

disclosing party has in its possession, custody, or control and may

use to support its claims or defenses.” Fed. R. Civ. P. 26(a)(1)(A)(i)-

(ii). Rule 26(a)(2) governs disclosure of expert witnesses and states

that experts who provide written reports must include, among other

information, “a complete statement of all opinions the witnesses will

express and the basis and reasons for them.” Fed. R. Civ. P.

26(a)(2).




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     Under Federal Rule of Procedure 26(e), “[a] party who has

made a disclosure under Rule 26(a)—or who has responded to an

interrogatory, request for production, or request for admission—

must supplement or correct its disclosure or response . . . in a

timely manner if the party learns that in some material respect the

disclosure or response is incomplete or incorrect, and if the

additional or corrective information has not otherwise been made

known to the other parties during the discovery process or in

writing.” Fed. R. Civ. P. 26(e)(1)(A). “A reasonable interpretation of

Rule 26(e)(1)(A) and its reference to “incomplete or incorrect”

disclosures presumes that the ‘additional or corrective

information...otherwise made known...during the discovery

process’ will provide the functional equivalent of the information

required under Rule 26(a)(1)(A).” Aldrich v. Indus. Cooling Sols.,

No. 14-CV-03206-CMA-KMT, 2016 WL 879675, at *2 (D. Colo. Mar.

7, 2016), citing L-3 Commc’ns Corp. v. Jaxon Eng’g & Maint., Inc.,

125 F. Supp. 3d 1155, 1168–69 (D. Colo. 2015) (holding that

“merely pointing to places in the discovery where the information

was mentioned in passing is not sufficient.”). See also Wallace v.

U.S.A.A. Life Gen. Agency, Inc., 862 F. Supp. 2d 1062, 1067 (D.


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Nev. 2012) (finding a party’s identification of an individual in

response to the opposing party's interrogatories insufficient to

satisfy the disclosure requirements of Rule 26(a) because, among

other reasons, the party did not identify the individual as someone

with information that the party may use in establishing its case).

     Federal Rule of Civil Procedure 34 governs the production of

documents and electronically stored information. In general, a

party may request “any designated documents or electronically

stored information—including …data or data compilations—stored

in any medium from which information can be obtained either

directly or, if necessary, after translation by the responding party

into a reasonably usable form.” Fed. R. Civ. P. 34(a)(1)(A). Further,

for electronically stored information:

     Unless otherwise stipulated or ordered by the court . . . (i) A
     party must produce documents as they are kept in the usual
     course of business or must organize and label them to
     correspond to the categories in the request; (ii) If a request
     does not specify a form for producing electronically stored
     information, a party must produce it in a form or forms in
     which it is ordinarily maintained or in a reasonably usable
     form or forms; and (iii) A party need not produce the same
     electronically stored information in more than one form.

Fed. R. Civ. P. 34(b)(1)(E).




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     However, there are limits to the scope of discovery, including

limits on the discoverability of work product. “Ordinarily, a party

may not discover documents and tangible things that are prepared

in anticipation of litigation or for trial by or for another party or its

representative (including the other party's attorney, consultant,

surety, indemnitor, insurer, or agent).” Fed. R. Civ. P. 26(b)(3)(A).

     If the Court determines that a party has failed to provide

information or identify a witness as required by Rule 26(a) or (e),

the Seventh Circuit has held that the exclusion of non-disclosed

evidence is “mandatory under Rule 37(c)(1) unless non-disclosure

was justified or harmless.” Musser v. Gentiva Health Servs., 356

F.3d 751, 758 (7th Cir.2004). See also Rossi v. City of Chicago, 790

F.3d 729, 738 (7th Cir. 2015).

                              V. ANALYSIS

     Plaintiff has identified four categories of information that it

contends Defendants did not timely disclose: (1) information on

compensation determined by calendar year, not fiscal year; (2)

information about physicians’ positions, departments, and divisions

(including information regarding division chiefs and faculty grants);

(3) information from witnesses not previously disclosed by


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Defendants; and (4) information about how the compensation was

allegedly determined for specific physicians. See Pls. Memo. at 6

(d/e 49). The parties agree that the Defendants had a duty to

disclose this information, but dispute the necessary timing.

Plaintiff argues that production was required earlier pursuant to

Rule 26(e) because Plaintiff requested that information in her

discovery requests and/or because they were documents or

witnesses Defendants intended to use to support its defenses.

Defendants argue that Plaintiff did not request this information in

her discovery requests, that it did not exist until a later time,

and/or that any further duty to supplement initial disclosures did

not arise until their expert report was produced, pursuant to Rule

26(a)(2). As explained below, the Court finds that no discovery

violations have occurred and that there is no basis to award costs

or attorney’s fees to either party.

  A. Defendants Timely Produced Information on
     Compensation Determined by Calendar Year as Opposed to
     Fiscal Year.

  Plaintiff alleges that Defendants did not timely produce a

spreadsheet that tracked the two components of compensation

using the same fiscal year that Defendants’ expert was provided on


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April 7, 2017. See Pls. Memo at 4-5 (d/e 49). Defendants argue

that Plaintiff never requested information regarding “total

compensation,” that the data did not exist until it was compiled and

created by Defendants and their counsel, that there was no duty to

create it, and that the total compensation spreadsheet was work

product until it was disclosed as part of their expert’s report. See

Defs. Resp. at 17-18 (d/e 52). In reply, Plaintiff argues that total

compensation was requested in Document Request 18(n)(i), which

sought “annual compensation.” Pls. Reply at 3 (d/e 53).

     As an initial matter, the Court finds that Defendants did not

have a duty to create a spreadsheet or database that tracked total

compensation when one did not exist. Plaintiff’s Document Request

18, as quoted above, asked only for “annual compensation”

contained in a database. See Defs. Resp., Ex. C at 16 (d/e 52-3).

That Defendants had the ability at the time they responded to the

initial discovery requests to spend hours pulling payroll records

from both SIU-HC and SIU-SOM and creating a dataset in one

spreadsheet is irrelevant. Defendants were only required to

produce records as kept in the normal course of business. See Mir

v. L-3 Commc’ns Integrated Sys., L.P., 319 F.R.D. 220, 227 (N.D.


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Tex. 2016); Hallmark v. Cohen & Slamowitz, Midland Funding LLC,

302 F.R.D. 295, 299 (W.D.N.Y. 2014) (“It is basic that in responding

to a document production request, pursuant to Fed. R. Civ. P. 34(a)

. . . a party is not required to create documents meeting the

document requests, only to produce documents already

in existence.”) (internal citations omitted).

     Plaintiff argues in reply that Defendants “created” the initial

compensation spreadsheets they disclosed and chose not to create

one that tracked annual compensation. Pls. Reply at 4 (d/e 53).

This argument ignores the fact that Defendants do not track

compensation jointly, so the combined dataset did not exist.

Pulling information from a database and organizing it into a

readable spreadsheet is a far different task than compiling and

creating the dataset itself. Rule 34(b)(1)(E) only obligates a party to

“produce documents as they are kept in the usual course of

business or [ ] organize and label them to correspond to the

categories in the request.” Fed. R. Civ. P. 34(b)(1)(E). Here,

Defendants organized and labeled the original two tracking

spreadsheets as required by Rule 34(b)(1)(E), but they were not




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under a further obligation to create a new dataset if it was not kept

in the usual course of business.

     Upon receiving the discovery responses, Plaintiff could have

asked Defendants to supplement their responses with the

underlying payroll data that could be used to create a total

compensation dataset. As Plaintiff argues in her Reply, however,

Plaintiff does not believe that an analysis of total compensation is

necessary to show pay discrimination. See Pls. Reply at 4 (d/e 53)

(“Defendants would have this Court believe that modeling

Defendants’ decision-making process requires analysis of “total

compensation by calendar year.”). Defendants did not have a duty

to create a total compensation spreadsheet and Plaintiff has not

pointed to a discovery request where they requested the underlying

payroll data that could be used to create such a dataset.

     The Court also finds that once the total compensation

spreadsheet was created, it was protected as work product done by

an attorney under Rule 26(b)(3)(A) until their expert report was

disclosed. While the facts underlying their new dataset were clearly

discoverable, Defendants did not have an obligation to turn over

documents containing the underlying data absent a request.


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Therefore, the Court finds that no discovery violation has occurred

with regard to the total compensation data tracked by calendar

year.

        Further, even if Defendants had an obligation to produce the

total compensation spreadsheet to Plaintiff as soon as it was

produced to their expert, their delay of one month hardly could

have harmed Plaintiff. By April 7, 2017, the time total

compensation spreadsheet was completed and produced to

Defendants’ expert, Plaintiff’s expert had already completed his

initial report and was being deposed. See Pls. Memo at 4-5 (d/e

49). That Defendants produced the spreadsheet on May 8, 2017 as

opposed to April 7, 2017 caused no harm even if they had had a

duty to disclose it one month earlier.

  B. Defendants Timely Produced Information About
     Physicians’ Positions, Departments, Divisions, and Faculty
     Grants.

        Plaintiff next contends that Defendants did not timely produce

information regarding departments, divisions, faculty grants, and

division chiefs. Plaintiff claims this information was requested in

her discovery requests, particularly in Document Request 18(n) and

Interrogatory 6. Pls. Reply at 6 (d/e 53).


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     With regard to information about departments, divisions, and

division chiefs, Defendants argue that this information was

contained within the produced documentation, specifically the

compensation files, and/or publically available information. See

Defs. Resp. at 21 (d/e 52). Plaintiff does not dispute this contention

in her reply brief. Plaintiff would have preferred this information to

have been contained in an electronic database, but the Defendants

did not maintain such a database and had no duty to create one.

See e.g., Mir v. L-3 Commc’ns Integrated Sys., L.P., 319 F.R.D. 220,

227 (N.D. Tex. 2016) (“As a general matter, a party cannot invoke

Rule 34(a) to require another party to create or prepare a new or

previously non-existent document solely for its production.”); Harris

v. Advance Am. Cash Advance Centers, Inc., 288 F.R.D. 170, 174

(S.D. Ohio 2012) (holding that Defendant was not required to

compile lists of requested information when such information did

not exist in such a format). Instead, Defendants provided to

Plaintiff the same information that Defendants later used to compile

the information for their expert. Defendants were not required to

reproduce the information they later compiled into a spreadsheet.

No discovery violation has occurred with respect to the information


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regarding Physicians’ positions, departments, and divisions.

Further, like the total compensation spreadsheet, this spreadsheet

was protected work product under Federal Rule of Civil Procedure

26(b)(3)(A) until the expert report was produced.

     The data underlying the grant information, however, was not

previously produced. Defendants argue that Plaintiff’s discovery

requests did not ask for information on grants. See Defs. Resp. at

19-20. The Court agrees with Defendants that, while Plaintiff’s

February 2, 2017 email requested some information regarding

grants and cited to specific discovery requests, the requests in the

email regarding grants did not plausibly fall within the cited

discovery requests. Additionally, Plaintiff’s email requesting

supplemental production only asked for NIH grant information that

was located in a computer readable database, which Defendants did

not maintain. See Pls. Memo., Ex. A (d/e 48-1).

     Plaintiff’s reply brief states that “Plaintiff explicitly requested

[supplemental information on grants] because grants or NIH grants

are a source of funding that could help ensure a particular salary is

paid. As such, it falls under the requests in Interrogatory No. 6 and

Document Request No. 18.” Pls. Reply at 6 (d/e 53). However,


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upon reading these two requests, see Defs. Resp., Ex. C at 16 (d/e

52-3) and Defs. Resp., Ex. B at 9 (d/e 52-2), the Court finds it

unclear what language Plaintiff could be relying on to make such an

assertion. The Court agrees with the Defendants that the Plaintiff

has not cited to any discovery request that plausibly asked for

information on faculty grants.

     Further, Plaintiff has not shown that Defendants made

misleading statements when they said they did not maintain NIH

grant information in a database. Again, this information was not

required to be produced until Defendants’ expert report that relied

on this data was produced. Therefore, the Court finds that no

discovery violations have occurred with regard to information about

physicians’ positions, departments, divisions, or faculty grants.

  C. Defendants Timely Disclosed Witnesses Relied Upon by
     Their Expert.

     Plaintiff next argues that Defendants were required to formally

disclose witnesses that Defendants’ expert consulted with in order

to make his report, specifically David Pence and Sylvia

McDonnough. See Pls. Memo. at 6 (d/e 49). Defendants argue that

these individuals were in fact disclosed because their names were



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included in an interrogatory response asking for information

regarding how Defendants searched their records and who was

involved in the searches. See Defs. Resp. at 24 (d/e 52). In reply,

Plaintiff argues that “virtually all of Defendants’ administrative or

physician employees have been identified in that fashion,” and that

Defendants were required to disclose these individuals as

witnesses. Pls. Reply at 8 (d/e 53).

     As Defendants argue, they did not need to formally disclose

these witnesses under Federal Rule of Civil Procedure 26(e)(1)(A) if

the witnesses were “otherwise made known” during discovery in a

manner that provided “the functional equivalent of the information

required.” See Aldrich, 2016 WL 879675, at *2. However, merely

identifying individuals in a response to interrogatories, as

Defendants did, does not necessarily provide the functional

equivalent. See Wallace, 862 F. Supp. 2d 1062, 1067. This is

because such a disclosure does not identify the individuals as

someone the Defendants “may use to support its claims or

defenses.” See Id.; Fed. R. Civ. P. 26(a)(1).

     With regard to McDonnough, her disclosure in response to the

interrogatories did appear to provide the functional equivalent of


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the information required. In the interrogatories, McDonnough was

identified as “a former HR employee that retired and was brought in

to help with data retrieval and reports since the AIS system is an

older system and has been customized over the years. This makes

retrieving information very difficult and Ms. McDonnough had in

depth working knowledge of the various nuances of the system.”

See Defs. Resp., Ex. B at 15 (d/e 52-2). In the Defendants’

Supplemental Disclosures provided contemporaneously with their

expert report on May 8, 2017, Defendants’ have formally disclosed

McDonnough as someone who will have knowledge of “the

maintenance of payroll records and production of compensation

data in this case.” See Defs. Resp., Ex. A at 40 (d/e 52-1). As

McDonnough’s specific knowledge was fully identified in the

interrogatory response, no further disclosure was necessary.

     However, Pence’s name was only included in a list of

individuals who helped gather the relevant data and other

information in response to the discovery requests. See Defs. Resp.,

Ex. B at 14 (d/e 52-2). This disclosure did not give Plaintiff any

indication of what information Pence may have that Defendants




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may rely on to support their claims.

     Still, Rule 37(c) sanctions are not warranted because the

Court finds Defendants’ failure to disclose Pence was substantially

justified and likely harmless. It is within this Court's discretion

whether the Rule 26 violation was substantially justified or

harmless. David v. Caterpillar, Inc., 324 F.3d 851, 857 (7th Cir.

2003). When determining whether the late disclosure was

substantially justified, “the inquiry focuses upon the actual ability

to timely disclose or else upon whether the party had a legal basis

to argue that disclosure was not actually required.” United States

v. Dish Network, L.L.C., No. 09-3073, 2016 WL 29244, at *8 (C.D.

Ill. Jan. 4, 2016) citing Bull v. Bd. Of Trs. Of Ball State

Univ., No. 1:10-cv-00878-JMS-TAB, 2012 WL 76137, at *2

(S.D. Ind. Jan. 10, 2012). The relevant factors the Court considers

to determine whether a violation is harmless include “(1) the

prejudice or surprise to the party against whom the evidence is

offered; (2) the ability of the party to cure the prejudice; (3) the

likelihood of disruption to the trial; and (4) the bad faith or

willfulness involved in not disclosing the evidence at an earlier




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date.” Dish Network, L.L.C, 2016 WL 29244, at *8.

     While the Court did not agree with Defendants, they did have

a legal basis to argue that disclosure was not actually required and

the Court finds their delayed disclosure was substantially justified.

Additionally, the Court finds this violation was likely harmless.

Notably, Plaintiff does not address whether the Defendants’ failure

to timely disclose Pence as a witness caused Plaintiff any harm.

Plaintiff has not indicated that they would have wanted to depose

Pence. The Court finds this significant, as an adequate remedy

here could have been to allow Plaintiff to depose Pence prior to

submitting her rebuttal report had Plaintiff filed this motion earlier.

Additionally, the Court does not find that Defendants were acting in

bad faith, especially since Pence was at least identified in the

interrogatories. Therefore, the Court finds that Rule 37(c) sanctions

are not mandated and will not impose such sanctions.

  D. Defendants Timely Disclosed Information About How the
     Compensation was Allegedly Determined for Specific
     Physicians.

     Plaintiff argues that Defendants did not timely disclose

information regarding compensation for specific physicians, citing

to specific paragraphs in Dr. Song’s report. See Pls. Memo. at 6.


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Plaintiff has not made a claim that this information was responsive

to a discovery request, but rather appears to be arguing that

Defendants were required to supplement their initial disclosures

pursuant to Federal Rule of Civil Procedure 26(e) more timely than

they did. The Court notes that in many of the paragraphs to which

Plaintiff refers, Dr. Song has cited to discovery materials produced

to Plaintiff and to publically available information. See Pls. Mot.,

Ex. D (d/e 48-4). Defendants respond that this information was

specifically requested from their expert after reviewing the data and

asking for clarification. See Defs. Resp. at 25-26 (d/e 52).

Defendants argue that Plaintiff’s expert was equally capable of

noting the discrepancies and following up with Defendants

regarding these discrepancies through Plaintiff’s counsel. Id. As

evidence of Plaintiff’s ability to do this, Defendants note that

Plaintiff did request clarification regarding some discrepancies in

the data. Id. Defendants further argue that it is not unusual or a

violation of discovery rules for an expert to rely upon information

not previously produced in discovery. Id.

     Essentially, Defendants’ expert asked questions about the

data and received answers that were not immediately provided to


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Plaintiff. Plaintiff argues this is a discovery violation. To the extent

Plaintiff is arguing that witnesses the expert relied on should have

been disclosed at an earlier date, that alleged discovery violation is

discussed above. Plaintiff appears to be suggesting that each time

Defendants’ expert asked a question about the data, Defendants

should have provided both Plaintiff and the expert with the

response contemporaneously. Plaintiff has cited no law to support

this alleged obligation, and the Court refuses to read such a

requirement into the discovery rules. The Court finds that Plaintiff

has not alleged a discovery violation with respect to information

regarding compensation decisions for specific physicians.

       VI. REQUESTS FOR COSTS AND ATTORNEY’S FEES

     Both Plaintiff and Defendants have requested that the Court

award costs and attorney’s fees associated with this motion.

Plaintiff’s request for costs and attorney’s fees pursuant to Rule

37(c) is denied because she has not proven an underlying discovery

violation that would warrant Rule 37(c) sanctions. Defendants also

seek sanctions pursuant to Rule 37(c), but have not alleged or

proven any discovery violations and, therefore, their request is also

denied. The Court further notes that Defendants did not


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meaningfully respond to Plaintiff’s emails on May 8, 2017 and May

15, 2017, which sought to address this issue outside of the Court.

As such, any costs they incurred as a result of this motion

potentially could have been avoided by responding to Plaintiff’s

emails. Therefore, the Court is denying any and all requests for

costs and attorney’s fees.

                         VII. CONCLUSION

     For the reasons stated, Plaintiff’s Motion to Bar Defendants’

Reliance on Undisclosed Information and Their Expert Report Based

Thereon in Opposing Class Certification (d/e 48) is DENIED.

Defendants request for fees and expenses is also DENIED.



ENTERED: January 24, 2018


FOR THE COURT:
                               s/ Sue E. Myerscough
                             SUE E. MYERSCOUGH
                             UNITED STATES DISTRICT JUDGE




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